                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA,                            )
                                                      )
                Plaintiff,                            )
                                                      )
 v.                                                   )       No.:    3:10-CR-160
                                                      )               (VARLAN/GUYTON)
 DUSTIN MORGAN,                                       )
                                                      )
                Defendant.                            )


              ORDER ADOPTING REPORT AND RECOMMENDATION

        A Report and Recommendation has been forwarded to the undersigned recommending

 that this case be certified as extended and complex. Counsel for Defendant Dustin Morgan

 has been appointed pursuant to the Criminal Justice Act (18 U.S.C. § 3006A) and has filed

 a motion [Doc. 106] to declare this case complex and extended for purposes of court-

 appointed attorney’s fees and requesting interim payments.

        The Report and Recommendation points out that the twenty-seven-count Superseding

 Indictment charges four defendants with engaging in a conspiracy to distribute a variety of

 controlled substances over approximately twenty months during the course of their operation

 of a pain clinic. Defendant Morgan is also charged with possession of a firearm in

 furtherance of a drug trafficking crime. The Report and Recommendation further points out

 that the litigation of pretrial motions has been extensive and involves novel legal questions.

 Because of the number of defendants, the nature of the charge asserted in the indictment, and

 the extensive nature of the pretrial litigation, it is the opinion of the undersigned that this case



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 meets the definition of “complex” and “extended” and that excess payments may be

 necessary to provide fair compensation to counsel.

        The Court agrees with the Report and Recommendation and hereby ADOPTS the

 same. This Order adopting the Report and Recommendation, along with a copy of the Report

 and Recommendation and an Order concerning excess and interim payments, approved by

 the undersigned, shall be forwarded to the United States Court of Appeals for the Sixth

 Circuit, to the attention of the Chief Judge of the Circuit or the Chief Judge’s designee.

        IT IS SO ORDERED.



                                            s/ Thomas A. Varlan
                                            UNITED STATES DISTRICT JUDGE




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